
Fitzsimons, J.
The complaint alleges that plaintiff’s two infant daughters entered defendant’s employ as house servants; that they had, in defendant’s house, clothing to the value of $400; that the clothing was destroyed by fire; and that defendant recovered from an insurance company the value thereof, and refused to pay the same over to plaintiff, who, as father, owned his daughter’s clothing,—hence this action. The trial justice dismissed the complaint. He did right in doing so. There is no evidence showing that defendant received money from any insurance for the clothing which plaintiff’s daughters had it his house; in fact, the evidence entirely failed to support the complaint, and was rightfully dismissed. Judgment affirmed, with costs.
